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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

  IN RE: FCA US LLC MONSTABLE
  ELECTRONIC GEARSHIFT LITIGATION,

                    MDL No. 2744              Case No. 16-md-02744
                                              Honorable David M. Lawson
                                              Magistrate Judge David R. Grand

                ORDER GRANTING IN PART AND DENYING
                IN PART PLAINTIFFS’ SECOND MOTION TO
                    COMPEL DISCOVERY (ECF No. 447)

        This is a multi-district putative class action lawsuit brought by a group of

  individuals who purchased, leased, or own vehicles manufactured by Defendant

  FCA LLC (“FCA”) that are equipped with an allegedly defective monostable

  electronic gearshift. On August 13, 2019, Plaintiffs filed a Second Motion to

  Compel Discovery that has been referred to the undersigned for hearing and

  determination. ECF Nos. 447, 454. The motion was fully briefed (ECF Nos. 458,

  461), and the Court held oral argument on the motion on September 23, 2019.

        For the detailed reasons stated on the record, IT IS ORDERED that

  Plaintiffs’ Second Motion to Compel Discovery (ECF No. 447) is GRANTED IN

  PART AND DENIED IN PART as follows:

            Interrogatory No. 6 and Request Nos. 52 and 53 – Denied as moot;
             counsel advised the Court that the parties resolved these issues.
            Interrogatory Nos. 1 and 3 – Granted.
            Interrogatory No. 4 and Request No. 44 – Granted, subject to the
             limitation stated on the record.
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            Interrogatory No. 7 – Granted in that FCA shall either produce the
             underlying study discussed at the hearing or represent that after a
             reasonable search, FCA was unable to locate the study.
            Request Nos. 41-43 – Granted as stated on the record.
            Request Nos. 45-46 – Denied without prejudice.
            Request Nos. 47-48 – Granted.
            Request No. 49 – Granted subject to limitation stated on the record.
            Request Nos. 50-51 – Granted, provided that FCA shall supplement
             its prior production as appropriate.

        The Court also highlights an issue which seemed to permeate many of the

  parties’ disputes. Although it is reasonable to assume in a case like this one that

  the vast majority FCA’s document productions will be of electronically stored

  information, that does not obviate FCA’s obligation to use additional reasonable

  means to ensure its document production is full and complete. To that end, in its

  “Pretrial Order No. 9: Protocol for Discovery of ESI,” the Court explained:

              The producing party may not substitute electronic search
              protocols for its obligation under applicable rules to otherwise
              make a reasonable and diligent search for responsive documents.
              For example, if the producing party keeps a file of documents
              that it knows is intended to primarily hold documents that would
              likely be directly responsive to a discovery request, it must
              search the entire file and may not substitute such search with an
              electronic search term query; and the provisions for Non-Email
              ESI and Email ESI searches in paragraphs IV(B) and IV(C)
              below do not limit or otherwise avoid the Producing Party’s
              obligation under this provision and under the Rules.

  ECF No. 90, PageID.3079

        FCA shall bear this principle in mind in searching for and producing the

  documents and information ordered herein. To the extent this Order compels FCA
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  to produce additional documents or provide additional information to Plaintiffs,

  FCA shall do so by October 25, 2019.

        IT IS SO ORDERED.

  Dated: September 24, 2019                    s/David R. Grand
  Ann Arbor, Michigan                          DAVID R. GRAND
                                               United States Magistrate Judge


           NOTICE TO THE PARTIES REGARDING OBJECTIONS

        The parties’ attention is drawn to Fed. R. Civ. P. 72(a), which provides a

  period of fourteen (14) days from the date of receipt of a copy of this order within

  which to file objections for consideration by the district judge under 28 U.S.C. §

  636(b)(1).



                           CERTIFICATE OF SERVICE

         The undersigned certifies that the foregoing document was served upon
  counsel of record and any unrepresented parties via the Court’s ECF System to
  their respective email or First Class U.S. mail addresses disclosed on the Notice of
  Electronic Filing on September 24, 2019.

                                               s/Eddrey O. Butts
                                               EDDREY O. BUTTS
                                               Case Manager
